             Case 1:21-cr-00198-TSC Document 77 Filed 11/07/22 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                             )
UNITED STATES OF AMERICA,                    )
                                             )
                                             )
                                             )
        v.                                   )      Criminal No. 21-cr-198 (TSC)
                                             )
                                             )
TROY ANTHONY SMOCKS,                         )
                                             )
                                             )
                                             )
   Defendant.                                )
                                             )

                                            ORDER

        For the reasons stated at the hearing held on November 2, 2022, Mr. Smocks’s

conditions of supervised release are MODIFIED as follows:

   1.         You must allow the probation officer to install computer monitoring software

              on any computer (as defined in 18 U.S.C. § 1030(e)(1)) you use.

   2.         Computer Search - You must submit your computers (as defined in 18 U.S.C.

              § 1030(e)(1)) or other electronic communications or data storage devices or

              media, to a search. You must warn any other people who use these computers

              or devices capable of accessing the Internet that the devices may be subject to

              searches pursuant to this condition. A probation officer may conduct a search

              pursuant to this condition only when reasonable suspicion exists that there is

              a violation of a condition of supervision and that the computer or device

              contains evidence of this violation. Any search will be conducted at a

              reasonable time and in a reasonable manner.
        Case 1:21-cr-00198-TSC Document 77 Filed 11/07/22 Page 2 of 2




      In addition, for the reasons stated at the hearing held on November 2, 2022, Mr.

Smocks’s oral Motion to Stay this Order pending appeal is DENIED.



Date: November 2, 2022


                                        Tanya S. Chutkan
                                        TANYA S. CHUTKAN
                                        United States District Judge
